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      IT IS ORDERED as set forth below:



      Date: June 10, 2020
                                                       _________________________________

                                                                Jeffery W. Cavender
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                           :          CHAPTER 7
                                                 :
CARLTON RUFFIN,                                  :          CASE NO. 19-57751-JWC
                                                 :
         Debtor.                                 :
                                                 :
                                                 :
S. GREGORY HAYS, Chapter 7 Trustee               :
for the Estate of Carlton Ruffin,                :
                                                 :
         Plaintiff,                              :
                                                 :
vs.                                              :          Adv. Pro. No. 20-06030-JWC
                                                 :
U. S. SECRETARY OF HOUSING                       :
AND URBAN DEVELOPMENT,                           :
                                                 :
         Defendant.                              :
                                                 :

                                      FINAL JUDGMENT

         On February 4, 2020, S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy estate (the

“Bankruptcy Estate”) of Carlton Ruffin and plaintiff herein (the “Trustee”), filed his Complaint
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[Doc. No. 1] (the “Complaint”) against the U. S. Secretary of Housing and Urban Development

(“HUD”), seeking an order and judgment holding that: (a) a certain HUD Deed,1 executed by

Debtor in favor of HUD and through which Debtor granted a security interest (the “First

Transfer” and with any transfer that arose by virtue of recording the HUD Deed, the “Transfers”)

in that certain real property with a common address of 1610 Neighborhood Walk, McDonough,

Henry County, Georgia 30252 (the “Property”),2 is patently defective and thus the Transfers are

avoidable by Trustee under 11 U.S.C. 544(a)(3); (b) Trustee is entitled to recover from HUD the

interest in the Property, or any sale proceeds resulting from the Property, that was transferred

through the Transfers under 11 U.S.C. § 550; and (c) the Transfers are preserved for the benefit of

the Bankruptcy Estate under 11 U.S.C. § 551.

        On April 9, 2020, HUD filed an answer [Doc. No. 4] to the Complaint.

        On April 14, 2020, Trustee filed Plaintiff’s Motion for Summary Judgment and related

papers [Doc. Nos. 5-8] (collectively, the “Motion for Summary Judgment”) seeking summary

judgment under all counts of the Complaint. On April 27, 2020, HUD filed the United States’

Response to Motion for Summary Judgment [Doc. No. 9] (the “Response”), stating, among other

things, that it does not have a basis to oppose the relief requested by Trustee in the Motion for

Summary Judgment.

        The Court has entered an order granting Trustee’s Motion for Summary Judgment.

        The Court having considered the entire record in this Adversary Proceeding and having

entered an order granting Trustee’s Motion for Summary Judgment; and, for good cause shown, it

1     Capitalized terms not defined herein shall have the meanings ascribed to them in Trustee’s
Complaint [Doc. No. 1].

2      The HUD Deed was recorded on the real property records of the Clerk of the Superior
Court of Henry County, State of Georgia on February 14, 2019, beginning at Page 1 of Deed Book
16303. [Doc. No. 1 at ¶ 15]; [Doc. No. 4 at ¶ 15].
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is hereby

        ORDERED AND ADJUDGED that all Transfers arising from or as a result of the HUD

Deed are avoided under 11 U.S.C. § 544(a)(3), pursuant to Count I of the Complaint [Doc. No. 1].

It is further

        ORDERED AND ADJUDGED that Trustee hereby recovers from HUD the interest in

the Property, or any sale proceeds resulting from the Property, transferred through the avoided

Transfers under 11 U.S.C. § 550, pursuant to Count II of the Complaint [Doc. No. 1]. It is further

        ORDERED AND ADJUDGED that the Transfers are preserved for the benefit of the

Bankruptcy Estate under 11 U.S.C. § 551, pursuant to Count III of the Complaint [Doc. No. 1].

                                   [END OF DOCUMENT]

Judgment prepared and presented by:

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Attorneys for Trustee

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